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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No. 21-cv-23103-BLOOM/Torres

  CASA EXPRESS CORP, as Trustee
  of Casa Express Trust,

         Judgment Creditor,

  v.

  BOLIVARIAN REPUBLIC OF VENEZUELA,

        Judgment Debtor.
  ________________________________________/

       OMNIBUS ORDER ON REPORT AND RECOMMENDATION AND APPEAL

         THIS CAUSE is before the Court upon United States Magistrate Judge Alicia Otazo-

  Reyes’ Report and Recommendation (“R&R”), ECF No. [262], on three Motions: Respondent

  Raul Gorrin Belisario’s (“Gorrin”) Motion for Judgment on the Pleadings (“Gorrin’s Motion”),

  ECF No. [231]; Respondents’ 1 Motion for Judgment on the Pleadings (“Respondents’ Motion”),

  ECF No. [232]; and Judgment Creditor Casa Express Corporation’s (“Casa”) Response in

  Opposition to [ECF No. 231] or Alternatively, Cross-Motion to Serve Raul Gorrin Belisario via

  Email (“Cross-Motion”), ECF Nos. [252], [253]. All post-judgment matters, including the instant

  Motions, were referred to Magistrate Judge Alicia Otazo-Reyes. ECF No. [148]. Judge Otazo-

  Reyes held a hearing on the matters pertaining to these three Motions on November 13, 2023,

  (“Hearing”), ECF No. [261]. Thereafter, Judge Otazo-Reyes issued her “R&R.” Casa filed an

  Objection, ECF No. [276], and Respondents filed a Response, ECF No. [281].

         Before the Court is also Casa’s Appeal and Objections to Order ECF No. [241], ("Appeal"),


         1
            The “Respondents” are Raul Gorrin Belisario (“Gorrin”), and the “Respondent Entities” or
  “Entities” are RIM Group Investments Corp., RIM Group Investments I Corp., RIM Group Investments II
  Corp., RIM Group Investments III Corp., Posh 8 Dynamic Inc., and Planet 2 Reaching Inc.
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  ECF No. [257]. Casa earlier filed a Motion to Extend Notices of Lis Pendens, (“Motion to

  Extend”), ECF No. [222]. Respondents filed a Response in Opposition to the Motion to Extend,

  ECF No. [268], and the matter was referred to Judge Otazo-Reyes. ECF No. [148]. Judge Otazo-

  Reyes thereafter denied the Motion in Order Re: D.E. 222, (“Order”), ECF No. [241].

         The Court has reviewed the Motions, the Appeal, the supporting and opposing submissions,

  the record in the case, and is otherwise fully advised. For the reasons that follow, the R&R is

  adopted in part, and the Appeal is denied.

    I.   BACKGROUND

         The Court assumes the parties’ familiarity with the facts of this case and adopts the

  procedural history contained in the R&R.

         On August 27, 2021, Casa commenced this action by registering an Amended Final

  Judgment (“Judgment”) issued by the Southern District of New York awarding judgment in favor

  of Casa and against Judgment Debtor Bolivarian Republic of Venezuela (“Venezuela”) for non-

  payment of two dollar-denominated sovereign bonds beneficially owned by Casa, ECF No. [1].

  After registering the Judgment, Casa filed its Ex Parte Expedited Motion to Commence

  Proceedings Supplementary, to Implead Defendants, and for Issuance of Statutory Notices to

  Appear, (“Ex Parte Motion”) ECF No. [3], which this Court granted, ECF No. [4]. 2 Upon filing

  the Ex Parte Motion, the Judgment (including post-judgment interest) totaled $43,342,865.52.

  ECF No. [3] at 4. On June 7, 2022, Casa filed its First Motion to Amend, which was granted. ECF

  Nos. [42], [59]. Casa thereafter filed its Amended Ex Parte Expedited Motion to Commence

  Proceedings Supplementary, (“Amended Motion”), ECF No. [60]. Casa seeks to execute on the


         2
            In the Court’s order, Casa was permitted to implead Alejandro Andrade Cedeno, Raul Gorrin
  Belisario, RIM Group Investments Corp., RIM Group Investments I Corp., RIM Group Investments II
  Corp., RIM Group Investments III Corp., Posh 8 Dynamic Inc., and Planet 2 Reaching Inc. in proceedings
  supplementary to and in aid of judgment or execution, ECF No. [4] at 3.


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  Judgment pursuant to the Foreign Sovereign Immunities Act (“FSIA”) 28 U.S.C. § 1610(c),

  Federal Rule of Civil Procedure 69(a), Florida Statutes, § 56.29, and Southern District of Florida

  Local Rule 7.1(d)(2). ECF No. [60] at 1.

          Statutory Notices to Appear were again issued to Respondents. ECF Nos. [63]-[71]. Eight

  properties (“Properties”) 3 are identified in the Amended Motion; Casa seeks to satisfy its Judgment

  through the Properties, and the Entities 4 hold title to all eight Properties. ECF No. [60,] ¶¶ 27, 29.

  Casa argued that an independent investigation conducted by its Certified Fraud Examiner and

  Certified Forensic Interviewer, Nelson Luis (“Luis”), established that the Entities purchased the

  Properties with misappropriated Venezuelan funds (“Funds”), and that “Casa Express, as a

  Judgment Creditor of Venezuela, is entitled to execute against the Properties in partial satisfaction

  of its judgment.” Id. ¶ 39.

          On July 11, 2023 and July 17, 2023, this Court issued default final judgments against two

  former National Treasurers of Venezuela, Claudia Patricia Diaz Guillen (“Guillen”), Alejandro

  Andrade Cedeno (“Cedeno”), and a partial default against Venezuela. ECF Nos. [215], [218]. In

  the default final judgments against Guillen and Cedeno, the Court determined that these former

  National Treasurers of Venezuela breached their fiduciary duties in accepting bribes related to the

  misappropriated Venezuelan funds. 5 Id. Additionally, this Court declared that Venezuela waived




          3
             The Properties are: 144 Isla Dorada Boulevard, Coral Gables, Florida 33143; 4100 Salzedo Street,
  Unit 1010, Coral Gables, Florida 33146; 4100 Salzedo Street, Unit 608, Coral Gables, Florida 33146; 4100
  Salzedo Street, Unit 807, Coral Gables, Florida 33146; 4100 Salzedo Street, Unit 813, Coral Gables, Florida
  33146; 4100 Salzedo Street, Unit 913, Coral Gables, Florida 33146; 18555 Collins Avenue, Unit 4401,
  Sunny lsles Beach, Florida 33160; and 7043 Fisher Island Dr., Unit 7043, Fisher Island, Florida 33109.
  ECF No. [60] at 9.
           4
             The Entities are: RIM Group Investments Corp., RIM Group Investments I Corp., RIM Group
  Investments II Corp., RIM Group Investments III Corp., Posh 8 Dynamic Inc., and Planet 2 Reaching Inc.
  ECF No. [4] at 3.
           5
             Additional declarations against Guillen and Cedeno included a valid unjust enrichment claim was
  established against them, and their conduct satisfied the elements necessary to impose a constructive trust.


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  its sovereign immunity to suit through the fiscal agency agreements (“FAA”) controlling the bond

  agreement. ECF No. [218] at 2.

          Gorrin thereafter filed his Motion seeking a ruling that Casa failed to both properly serve

  him and establish personal jurisdiction over him. ECF No. [231]. Additionally, Gorrin joined

  Respondent Entities and filed a motion seeking judgment on the pleadings as to the following

  affirmative defenses: (1) Casa lacks standing to impose a third-party constructive trust on their

  Properties on behalf of Venezuela; (2) Casa’s claims are barred by the Foreign Sovereign

  Immunities Act (“FSIA”), 28 U.S.C. §§ 1604, 1609, which provides a presumption of sovereign

  immunity from attachment of property or suit; (3) the Properties are blocked by the United States

  Treasury Department, Office of Foreign Asset Control (“OFAC”) and Casa lacks the requisite

  OFAC license to proceed; (4) Casa failed to establish ancillary jurisdiction; and (5) Casa has failed

  to allege and cannot establish the elements of a constructive trust remedy. ECF No. [232] at 2.

          Casa filed its Cross-Motion, which included its Response to Gorrin’s Motion, contending

  that the Hague Convention is unavailable to serve Gorrin because Venezuela has no central

  authority to process international service pursuant to the Hague Convention. ECF No. [252] at 2.

  Further, as Venezuela is a derecognized regime, compelling Casa to serve Gorrin in Venezuela

  through existing authorities raises political and separation of powers issues. Id. Therefore Casa

  moved to serve Gorrin by email. Id. at 6. Casa further argues personal jurisdiction exists over

  Gorrin pursuant to Fla. Stat. § 48.193(1)(a)(1)-(2). 6 since Gorrin committed tortious acts in Florida

  by making bribe payments to Cedeno and Guillen with knowledge and in furtherance of its breach


          6
            The Florida long-arm statute for the assertion of personal jurisdiction provides, as pertinent here,
  “[a] person, whether or not a citizen or resident of this state, who personally or through an agent does any
  of the acts enumerated in this subsection thereby submits himself or herself and, if he or she is a natural
  person, . . . to the jurisdiction of the courts of this state for any cause of action arising from any of the
  following acts (1) operating, conducting, engaging in, or carrying on a business or business venture in this
  state or having and office or agency in this state; (2) committing a tortious act within this state.”


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  of trust. Id. at 8-9. Casa points to Gorrin’s Superseding Indictment (“Indictment”) detailing tortious

  acts, including wire transfers of millions of dollars to accounts owned by or for the benefit of

  Cedeno and Guillen, satisfying specific personal jurisdiction under Florida’s long-arm statute,

  § 48.193(1)(a)(2). Casa also provides a table of Gorrin’s real property in Florida to establish that

  Gorrin conducts business in Florida through real estate ventures related to the Properties.

         A. The R&R’s Findings

         In the R & R, Judge Otazo-Reyes concluded that Gorrin should be entitled to judgment in

  part: while substitute service on Gorrin should be permitted, Gorrin should be dismissed from this

  case for lack of personal jurisdiction. ECF No. [262] at 9. Consequently, Judge Otazo-Reyes

  recommends that Casa’s Cross Motion should be granted as to service on Gorrin but denied as to

  personal jurisdiction over Gorrin. Id. 8-12.

                i. Gorrin’s Motion and Casa’s Cross-Motion

         As to Gorrin’s Motion, Judge Otazo-Reyes recommended the Court find Casa has failed to

  establish personal jurisdiction over Gorrin. However, should Casa sufficiently supplement the

  record to indicate its efforts to serve Gorrin pursuant to the Hague Convention, Casa should be

  permitted to serve Gorrin through email, even if “such service would be moot, due to lack of

  personal jurisdiction.” ECF No. [262] at 21.

         B. Personal Jurisdiction

         The R&R analyzed the following two prongs of Florida’s long-arm statute relied upon by

  Casa in its assertion of specific personal jurisdiction over Gorrin based upon his conduct in state:

         1. Operating, conducting, engaging in, or carrying on a business or business
         venture in this state or having an office or agency in this state.
         2. Committing a tortious act within this state.

         Fla. Stat. § 48.193(1)(a)(1)-(2); see ECF No. [262] a 9.




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                  i. Specific Personal Jurisdiction: Conducting a Business in Florida Analysis

          Judge Otazo-Reyes determined the allegations that Gorrin conducted business in Florida

  due to applications for condominium associations and various quit claim deeds between the

  Properties and Entities were insufficient to exercise specific personal jurisdiction. The R&R relied

  upon Horizon Aggressive Growth, L.P. v. Rothesteing-Kass, P.A., 421 F.3d 1162 (11th Cir. 2005),

  providing the relevant factors courts should use when considering whether business has been

  conducted in Florida sufficient to exercise personal jurisdiction: the presence and operation of an

  office in Florida; possession and maintenance of a license permitting the defendant to do business

  in Florida; the quantity of clients the business serves in Florida; and the percentage of the

  defendant’s overall revenue earned in Florida. Id. at 1167. The R&R found that none of those

  factors were present based upon the allegations against Gorrin.

                  ii. Specific Personal Jurisdiction: Tortious Acts in Florida

          The R&R determined allegations that Gorrin engaged in tortious acts within Florida were

  insufficient to exercise specific personal jurisdiction because the necessary “connection or

  connexity” between his alleged acts and the Properties Casa seeks to impose a constructive trust

  over has not been linked. ECF No. [262] at 10. Judge Otazo-Reyes determined that Casa cannot

  establish personal jurisdiction under a “disjointed theory” whereby personal jurisdiction exists

  based on acts related to a tort, but unrelated to the relief sought for that tort. Id. Judge Otazo-Reyes

  pointed out that the allegations taken as true must be linked to the constructive trust Casa seeks as

  that is the reason the proceedings supplementary were initiated and how Casa seeks to execute on

  its Judgment against Venezuela. Id. Additionally, the R&R noted Casa failed to provide any

  authority supporting personal jurisdiction on that basis.

          The R&R also found that, although Florida’s long-arm statute does not apply to Gorrin, the

  required constitutional minimum contacts analysis also fails. ECF No. [262] at 1; See Future Tech.


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  Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1250-51 (11th Cir. 2000) (due process requires

  “(1) purposeful availment of the forum state; (2) the cause of action arises out of the activities

  which you purposefully availed yourself . . . and (3) reasonable foreseeability that [a defendant]

  should reasonably anticipate being haled into court there.”)

         C. Respondents’ Motion

             a. Constructive Trust

         Judge Otazo-Reyes recommends Respondents’ Motion be granted with respect to Casa’s

  request for the imposition of a constructive trust on the Properties on behalf of Venezuela. ECF

  No. [262] at 14. Judge Otazo-Reyes determined Casa lacks a sufficient link between the Funds and

  the Properties to establish the constructive trust it seeks over the Properties and the sources Casa

  relied on were insufficient. First, Casa’s reliance on OFAC’s findings that Gorrin invested the

  Funds into “ʻreal properties [] located in Florida through a network of corporate entities to

  obfuscate his ownership in the properties’” failed because there was no mention of the specific

  properties over which Casa seeks to impose the constructive trust. See ECF No. [257] at 7; ECF

  No. [60-5] at 6. Second, Judge Otazo-Reyes determined the Luis Report is flawed for listing the

  substitute properties in the forfeiture section of the Indictment against Gorrin; listing a property as

  substitute is insufficient to render a property tainted. ECF No. [262] at 13. Third, Casa’s reliance

  on the chart published by OFAC, “Venezuela Currency Exchange Network Scheme,” was also

  insufficient to support a link between the Funds and the Properties because “the chart makes no

  specific mention of the Properties.” Id. at 14. Thus, the R&R found each of Casa’s proffers failed

  “to provide a factual basis for the necessary link between the misappropriated Venezuelan funds

  and the Properties.” Id. For those reasons, the R&R concluded Respondents are entitled to

  judgment on the pleadings with respect to the constructive trust Casa seeks to impose over the

  Properties on behalf of Venezuela. Id.


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          b. Standing Analysis

          Judge Otazo-Reyes recommends Respondents’ Motion be granted with respect to the

  affirmative defense that Casa lacks standing in these proceedings. ECF No. [262] at 16. The R&R

  pointed out that Casa has not alleged Article III standing and analyzes Casa’s alternative arguments

  that it has standing by stepping in the shoes of its judgment debtor, and because Venezuela

  assigned its litigation rights to Casa.

          Casa argues it has standing because Florida law permits judgment creditors “to step into

  the shoes of its judgment debtor” to impose a constructive trust over property owned by a third-

  party. The R&R found instead that Casa is asserting against Respondents a “personal chose of

  action” of Venezuela. ECF No. [262] at 15. Casa claims that the highest-ranking officials

  defrauded its nation and “absconded with ill-gotten gains” are so “sensitively sovereign in nature”

  it is unsurprising “no case. . . has ever been allowed for a private judgment creditor to obtain title

  to such a ‘chose in action’ and pursue a lawsuit on behalf of a sovereign.” Id.; see ECF No. [256]

  at 7-8. Accordingly, Judge Otazo-Reyes found Casa lacks support that is has standing in this novel

  manner. Id.

          Judge Otazo-Reyes also found Venezuela did not assign its litigation rights to Casa through

  a special law enacted by Venezuela (“VZ Law”) incentivizing its creditors to sue “holders of

  Venezuelan assets obtained through acts of corruption.” Id. n.1. The R&R reasoned this purported

  authorization post-dates Casa’s registration of its Judgment, giving rise to these proceedings, and

  thus fails to establish standing existed at the commencement of an action, which is fatal. Id. n. 11.

  Additionally, Casa conceded at the Hearing that it failed to consider what the necessary legal

  requirements are to establish the purported assignment of litigation rights and whether the VZ Law

  met those requirements. Id. Accordingly Judge Otazo-Reyes recommends Respondents are entitled

  to judgment on the pleadings with respect to their affirmative defense of Casa’s lack of standing.


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             c. FSIA Immunity

         Judge Otazo-Reyes recommends Respondents’ Motion with respect to their affirmative

  defense of FSIA immunity be granted. In the R&R, Judge Otazo-Reyes found that taking Casa’s

  allegations as true the Properties belong to Venezuela, the Properties are still immune from

  attachment pursuant to the FSIA, 28 U.S.C. § 1602, et seq. Judge Otazo-Reyes determined

  28 U.S.C. § 1610, whereby a foreign sovereign state loses immunity to attachment or execution of

  its property within the United States if that property was used for “commercial activity,” fails in

  this matter. See § 1610(a)(1)-(2). The R&R rejected Casa’s assertion that Venezuela waived its

  FSIA immunity from both suit and execution in the FAAs which allowed Casa to pursue its

  Judgment in the district court of the Southern District of New York, and that the same waiver is

  valid here. ECF No. [262] at 16. Instead, the R&R determined this Court’s Partial Default

  Judgment against Venezuela, pursuant to the Judgment entered in New York, was limited to waiver

  from suit. Id. at 17; see ECF No. [218]. Accordingly, only Venezuela’s waiver to suit in relation

  to its non-payment of the bond agreement was recognized by this Court.

         Next, Judge Otazo-Reyes determined the authorization from Venezuela’s Attorney General

  was issued after these proceedings commenced, the Properties are not mentioned in the VZ Law,

  and the purported agreement from Venezuela is not “use” of the Properties by Venezuela triggering

  the commercial exception in the FSIA. Id. at 17. The R&R cites to U.S v. M/Y Galactica Star, 13

  F.4th 448 (5th Cir. 2021) where the Fifth Circuit determined a foreign sovereign’s participation in

  the sale of a yacht was not commercial activity such that it waived its sovereign immunity under

  the FSIA. Id. at 459.

         Finally, Judge Otazo-Reyes determined that § 1610(a) does not permit a foreign state to

  lose or waive its immunity from attachment or execution of its property in the United States

  through purported commercial activity of another entity or person. ECF No. [262] at 17. The R&R


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   found Casa’s argument lacked merit that “because § U.S.C. 1610(a)(1) does not explicitly require

   that the commercial activity. . . be actually carried out by the foreign state” means actions of a

   third-party could trigger the section 1610(a) exception. Id. Casa argues that other sections of the

   FSIA expressly refer to commercial activity conducted by the foreign state, but Judge Otazo-Reyes

   rejected that argument as violating well-established canons of statutory construction “that context

   must be take into account.” Id. (citing Dolan v. U.S. Postal Serv., 546 U.S. 481, 486 (2006)). As

   such, the R&R determined only commercial activity by the foreign state as to their property could

   result in the foreign sovereign losing its FSIA immunity from attachment and execution of its

   property in the United States. Consequently, Judge Otazo-Reyes recommends Respondents’

   Motion be granted as to the FSIA affirmative defense.

              d. OFAC Regulations

          Judge Otazo-Reyes recommended Respondents’ Motion be denied with respect to their

   OFAC Regulations affirmative defense. ECF No. [262] at 19. There is no dispute OFAC blocked

   the Properties, and OFAC requires a license for “entry into settlement agreement or the

   enforcement of any lien, judgment, arbitral award . . . through execution, garnishment, or other

   judicial process.” Id. During the Hearing, Casa proffered a letter from OFAC’s Deputy Assistant

   Director for Licensing, Mary P. Rasmussen, to support Casa’s contention that it did not need a

   license to proceed with the litigation. Judge Otazo-Reyes determined that the letter was insufficient

   to authorize the imposition of a constructive trust but recognized the letter “alluded to the potential

   issuance of such a license.” Id. at 19. As such, Judge Otazo-Reyes recommends Respondents’

   Motion be denied on the OFAC regulations affirmative defense raised. Id.

              e. Act of State Doctrine

          Judge Otazo-Reyes recommends Respondents’ Motion be granted with respect to their act

   of state doctrine affirmative defense. Citing Banco National de Cuba v. Sabbatino, 376 U.S. 398


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   (1964), Judge Otazo-Reyes notes the doctrine “precludes the courts of this country from inquiring

   into the validity of the public acts a recognized foreign power committed within its own territory.”

   Id. at 401; ECF No. [262] at 19. Further, the doctrine “operates as a preclusive force, foreclosing

   judicial inquiry into the validity or propriety of such acts in litigation between any set of parties.”

   Glen v. Club Mediterranee S.A., 365 F. Supp.2d 1263, 1271 (S.D. Fla. Apr. 7, 2005); ECF No.

   [262] at 19. As Casa argues Gorrin’s bribes were in furtherance of an illicit and illegal scheme

   conducted by two Venezuelan Treasurers, the R&R found the Court must necessarily determine

   whether the acts of those Venezuelan Treasurers were a breach of trust and illegitimate for Casa

   to obtain the relief it seeks through imposition of a constructive trust. Id. at 20. Judge Otazo-Reyes

   concluded such a determination is precluded by the act of state doctrine, and Respondents are

   entitled to judgment on the pleading with respect to their act of state doctrine affirmative defense.

              f. Ancillary Jurisdiction

          Judge Otazo-Reyes recommends Respondents’ Motion be granted with respect to their

   affirmative defense that the Court lacks ancillary jurisdiction because “[a]ncillary jurisdiction does

   not extend to ‘a new lawsuit to impose liability for a judgment on a third party.’” Nat’l Mar. Servs.,

   Inc. v. Straub, 776 F.3d 783, 787 (11th Cir. 2015) (quoting Peacock v. Thomas, 516 U.S. 349, 359

   (1996)); see ECF No. [262] at 20.

          Relying on Peacock, Judge Otazo-Reyes concluded that jurisdiction in this district to

   enforce the Judgment obtained in New York is limited to Venezuela and does not extend to

   Respondents. ECF No. [262] at 21. Similarly, Judge Otazo-Reyes found Casa’s argument

   distinguishing Peacock because it does not intend to hold Respondents personally liable for the

   Judgment is “a distinction without a difference” as Casa seeks to impose a constructive trust over

   Respondents’ Properties to collect on the Judgment obtained in New York. Id. at 20. Additionally,

   Judge Otazo-Reyes found Casa’s contention that subject matter jurisdiction exists under the FSIA


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   fails because such jurisdiction applies to Venezuela as judgment creditor, not to the third-party

   Respondents. Id. at 21. Moreover, Judge Otazo-Reyes found Casa’s alternative argument that

   FSIA jurisdiction applies under an “immovable property” exception fails as the imposition of a

   constructive trust has been found legally deficient, thus, no relevant property exists to trigger this

   exception. Id. Judge Otazo-Reyes recommended that Respondents’ Motion be granted on the

   affirmative defense that the Court lacks ancillary jurisdiction over these proceedings

   supplementary.

          Judge Otazo-Reyes recommended that Respondents’ Motion be granted on all grounds,

   except on the OFAC regulations affirmative defense, voiding Casa’s claims. Additionally, Judge

   Otazo-Reyes recommended that Gorrin’s Motion be granted in part and denied in part, and Casa’s

   Cross-Motion be granted.

          D. The Appeal

          Judge Otazo-Reyes denied Casa’s Motion to Extend Notices of Lis Pendens. ECF No.

   [241] at 1. Casa sought to extend the Notices of Lis Pendens “until a final disposition on the merits

   of the case.” ECF No. [222] at 1. In her Order, Judge Otazo-Reyes found that (1) Casa lacked

   standing to assert the constructive trust claim upon which the Notices of Lis Pendens are

   predicated; (2) Casa failed to show it had a “good faith, viable [constructive trust] claim” consistent

   with prevailing Florida law and (3) the existence of prior Notices of Lis Pendens does not make

   an order extending them to “fall outside the ambit of protected acts” precluded by OFAC based

   upon the block against the Properties. See generally ECF No. [241].




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    II.   LEGAL STANDARD

          A. Report and Recommendations

          “In order to challenge the findings and recommendations of the magistrate judge, a party

   must file written objections which shall specifically identify the portions of the proposed findings

   and recommendation to which objection is made and the specific basis for objection.” Macort v.

   Prem, Inc., 208 F. App’x 781, 783 (11th Cir. 2006) (quoting Heath v. Jones, 863 F.2d 815, 822

   (11th Cir. 1989). The objections must also present “supporting legal authority.” S.D. Fla. L. Mag.

   J.R. 4(b). The portions of the report and recommendation to which an objection is made are

   reviewed de novo only if those objections “pinpoint the specific findings that the party disagrees

   with.” United States v. Schultz, 565 F.3d 1353, 1360 (11th Cir. 2009); see also Fed. R. Civ. P.

   72(b)(3). If a party fails to object to any portion of the magistrate judge’s report, those portions are

   reviewed for clear error. Macort, 208 F. App’x at 784 (quoting Johnson v. Zema Sys. Corp., 170

   F.3d 734, 739 (7th Cir. 1999)); see also Liberty Am. Ins. Grp., Inc. v. WestPoint Underwriters,

   L.L.C., 199 F. Supp. 2d 1271, 1276 (M.D. Fla. 2001).

          “It is improper for an objecting party to ... submit [ ] papers to a district court which are

   nothing more than a rehashing of the same arguments and positions taken in the original papers

   submitted to the Magistrate Judge. Clearly, parties are not to be afforded a ‘second bite at the

   apple’ when they file objections to an R & R.” Marlite, Inc. v. Eckenrod, No. 10-23641-CIV, 2012

   WL 3614212, at *2 (S.D. Fla. Aug. 21, 2012) (quotation omitted). A court, in its discretion, need

   not consider arguments that were not, in the first instance, presented to the magistrate judge.

   Williams v. McNeil, 557 F.3d 1287, 1291 (11th Cir. 2009). A district court may accept, reject, or

   modify a magistrate judge’s report and recommendation. 28 U.S.C. § 636(b)(1).




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          B. Appeal of a Magistrate Order

          A “magistrate judge’s ruling on a non-dispositive matter must be affirmed unless ‘it has

   been shown that the magistrate judge’s order is clearly erroneous or contrary to law.’” Sun Cap.

   Partners, Inc. v. Twin City Fire Ins. Co., Inc., No. 12-CV-81397-KAM, 2015 WL 11921411, at

   *1 (S.D. Fla. July 6, 2015). The “clearly erroneous or contrary to law” standard of review is

   “extremely deferential.” Martinez v. Miami Children's Health Sys., Inc., No. 21-CV-22700, 2023

   WL 1954529, at *1 (S.D. Fla. Jan. 26, 2023). A finding is clearly erroneous only if “the reviewing

   court, after assessing the evidence in its entirety, is left with a definite and firm conviction that a

   mistake has been committed.” Krys v. Lufthansa German Airlines, 119 F.3d 1515, 1523 (11th

   Cir.1997). “With respect to the ‘contrary to law’ variant of the test, an order is contrary to law

   when it fails to apply or misapplies relevant statutes, case law or rules of procedure.” Sun Capital

   Partners, 2015 WL 11921411, at *1.

   III.   DISCUSSION

          As an initial matter, the Court highlights that Casa’s Objections are generally improper

   because they largely reframe arguments already made and thoroughly considered by Judge Otazo-

   Reyes or they simply disagree with Judge Otazo-Reyes’s conclusions. “It is improper for an

   objecting party to . . . submit [ ] papers to a district court which are nothing more than a rehashing

   of the same arguments and positions taken in the original papers submitted to the Magistrate Judge.

   Clearly, parties are not to be afforded a ‘second bite at the apple’ when they file objections[.]”

   Marlite, Inc. v. Eckenrod, No. 10-23641-CIV, 2012 WL 3614212, at *2 (S.D. Fla. Aug. 21, 2012)

   (quoting Camardo v. Gen. Motors Hourly-Rate Emps. Pension Plan, 806 F. Supp. 380, 382

   (W.D.N.Y. 1992)).




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           A. Gorrin’s Motion for Judgment on the Pleadings and Casa’s Cross-Motion

                   i. This Court Does Not Have Personal Jurisdiction Over Gorrin

           Judge Otazo-Reyes recommends Gorrin’s Motion for Judgment on the Pleadings for lack

   of personal jurisdiction be granted. ECF No. [262] at 9. The R&R correctly finds Casa failed to

   satisfy either asserted prong of Florida’s long arm statute upon which it relies, and Casa fails to

   show connexity to the constructive trust it seeks.

                   a. Casa Failed to Establish a Real Estate Business was Conducted to Assert
                      Personal Jurisdiction

           The R&R finds Casa failed to establish Gorrin conducted business in Florida based on an

   application for ownership within a condominium association, and the exercise of quit-claim deeds.

   Id. at 11.

           Casa objects to the findings in the R&R and argues it sufficiently alleged Gorrin operated

   a real estate business venture in Florida, including the sale and rent of the Properties for profit, that

   was uncontested in the affidavits filed by Gorrin and his Entities.’ ECF No. [276] at 25. Casa

   reasons its uncontroverted allegations must be accepted as fact, and in failing to do so, the R&R

   constitutes clear error. ECF No. [276] at 26. Casa therefore argues it established that the Properties

   were bought to generate monthly cashflow and listed for sale to realize profits and references an

   exhibit it attached to its Amended Motion. Id. at 26; See ECF No. [60-1] (certain Properties listed

   on “Zillow”); see ECF Nos. [127-1], [127-2]. Casa cites to Labbee v. Harrington, 913 So. 2d 679

   (Fla. 3d DCA 2005) which held the renting and sale of an investment property is a business venture

   for purposes of the Florida long-arm statute. Id. at 683. Casa argues Gorrin operated a business

   venture in Florida sufficient to establish personal jurisdiction and its Objections should be

   sustained. ECF No. [276] at 29.




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          Respondents argue Casa misstates the denials in the affidavits as Gorrin and the Entities

   provided specific denials beyond Casa’s contentions. ECF No. [281] n. 14. Respondents reason

   Casa bears the burden of establishing personal jurisdiction over Gorrin, and instead “objects by

   simply disagreeing with the ruling.” Id. at 20. Finally, Respondents argue Casa’s reliance on quit

   claim deeds and applications to homeowner associations to establish Gorrin conducted business in

   Florida fails to satisfy the “conducting business” analysis under the prevailing Eleventh Circuit

   factors set forth in Horizon Aggressive growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162 (11th

   Cir. 2005) as indicated in the R&R. 421 F.2d at 1167; see ECF No. [281] at 20.

          The Court agrees with the R&R’s determination and finds the Objections are without merit.

   Casa fails to analyze the Eleventh Circuit factors set forth in Horizon Aggressive growth, L.P. v.

   Rothstein-Kass, P.A., 421 F.3d 1162 (11th Cir. 2005) to determine whether a defendant conducted

   a business in Florida such that specific personal jurisdiction can be established. Id. at 1167. The

   Horizon factors, while not exhaustive, include: “the presence and operation of an office in Florida;

   the possession and maintenance of a license to do business in Florida; the number of Florida clients

   served; and the percentage of overall revenue gleaned from Florida clients.” Id. As Judge Otazo-

   Reyes correctly pointed out, “[n]one of these factors are present here with respect to Gorrin.” ECF

   No. [262] at 11. Not only did Casa fail to address those factors directly, its allegations and the

   exhibits provided fail to support a finding that these factors are met.

          Casa instead relies on Labbee v. Harrington, 913 So. 2d 679 (Fla. 3d DCA 2005) for

   support that Respondents rented and sold the Properties for gain so as to satisfy the “conducting

   business” portion of the Florida long-arm statute. ECF No. [276] at 27. In Labbee, the plaintiff

   alleged a particular property was rented for twenty years, prior to the plaintiff purchasing that

   property, such that the defendant was “dealing in property in anticipation of economic gain” and




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   conducted a business venture under the Florida long-arm statute. 913 So. 2d at 683. Labbee points

   out that Florida Supreme Court has held that “doing business is doing a series of similar acts for

   the purpose of thereby realizing pecuniary benefit.” Id. (citing Weber v. Register, 67 So. 2d 619,

   621 (Fla. 1953) (quotations omitted)). The Florida Supreme Court determined that because the

   defendant “owned real estate for the purpose of renting it to others for profit and that he

   subsequently sold it” was sufficient to find the defendant engaged in a business venture warranting

   the exercise of personal jurisdiction under the Florida long-arm statute. Id. at 683 (emphasis

   added).

             Here, Casa offers an exhibit with several listings from one commercial real estate website

   indicating certain properties were listed for sale or rent. ECF No. [60-1]. Notably, these are listings

   and not contracts. However, Casa fails to acknowledge most listings in its exhibit were

   intermittently listed and delisted, with no indication a sale or a rental ever occurred, and most show

   a final delisting. 7 Of the one rental unit where a transaction is indicated, the information in the

   exhibit is inconsistent with Labbee; 4100 Salzedo Street, Unit 807 was rented in 2017, but does

   not indicate what price it was rented for or the duration, thus precluding a conclusion it was rented

   for a profit or over time consistent with Labbee. Id. at 4. Therefore, Casa’s Exhibit fails to support

   its argument. Id. See Llauro v. Tony, 470 F. Supp. 3d 1300, 1314 (S.D. Fla. 2020) (“[W]hen


             7
              144 Isla Dorada, Miami, Fl 33143 was listed for sale on January 7, 2010, then the listing for sale
   was removed on June 18, 2010. Six years later, this property was relisted for sale in September 2016, and
   the listing was again removed in January 2019. The property was relisted in October 2019, and removed in
   January 2020. The exhibit never shows a final sale occurred. ECF No. [60-1] at 2. Similarly, the Exhibit
   shows 18555 Collins Avenue, Apt. 4401, Sunny Isles Beach, FL 33160 was listed for sale on January 12,
   2018, a price reduction is noted on September 28, 2018, and the property listing was removed on December
   4, 2018; no indication of a sale is in the record. Id. at 7. Regarding rental units, the Exhibit shows 4100
   Salzedo Street, Unit 807, Coral Gables, FL 33146, was listed for sale in October 2017, then listed as
   “Rented” with no indication at what price (i.e., if for profit). Additionally, the Exhibit shows 4100 Salzedo
   Street, Apt. 913 was listed for rent in October 2017, the price was reduced in November 2017, and the
   listing was removed on December 17, 2017, with not additional information provided. Id. at 6. The record
   does not support Casa’s allegations that the Properties were used for profit, such that a business venture is
   sufficiently alleged under Fla. Stat. § 48.193(1)(a)(1).


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   exhibits attached to a complaint ‘contradict the general and conclusory allegations of the pleading,

   the exhibits govern.’”). Accordingly, Casa’s allegations are insufficient to invoke specific personal

   jurisdiction based upon Fla. Stat. § 48.193(1)(a)(1). The Court adopts the R&R with respect to this

   point and the Objections are overruled.

                   b. Casa Failed to Establish Connexity Between the Tortious Acts in Florida
                      and the Constructive Trust it Seeks to Assert Personal Jurisdiction over
                      Gorrin

           Casa objects to the R&R and contends it imposes an improper, “additional jurisdictional

   requirement” in determining Casa failed to establish a link between Gorrin’s conduct and the

   constructive trust Casa seeks to impose under § 48.193(1)(a)(2). Additionally, Casa cites Knepfle

   v. J-Tech, Corp. 48 F.4th 1282 (11th Cir. 2022) for the proposition it need only allege facts

   sufficient to establish “a connexity between the enumerated activity in Florida and the cause of

   action.” Id. at 1292. Here, Casa argues the cause of action is “the wrongful participation in a breach

   of trust” by Gorrin, and the enumerated activity is “committing a tortious act.” ECF No. [276] at

   23. Casa contends the Indictment “links the wrongful participation breach of trust tort committed

   by Gorrin [] to the Southern District of Florida” detailing various bribe payments sent to bank

   accounts in the Southern District of Florida. Id. at 24. Casa reasons this establishes sufficient

   connexity between Casa’s cause of action and Gorrin’s tortious activity in Florida to satisfy

   Fla. Stat. § 48.193(1)(a)(2). Casa argues that is enough, and any requirement that it must establish

   connexity to its desired relief sought, the creation of a constructive trust consisting of the

   Properties, is clear error. Id. at 23.

           Respondents argue that Casa fails to establish connexity between the cause of action and

   Florida contacts and impermissibly attempts to “parse out” the connection to the constructive trust

   to establish jurisdiction. ECF No. [281] at 19. Respondents contend Casa’s observation that its

   allegations must be accepted as true fails to show those allegations provide a sufficient link


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   between the forum and Gorrin’s tortious conduct, and the Court accordingly cannot exercise

   personal jurisdiction over Gorrin.

           The Court agrees that Casa fails to establish connexity between the bribe-related acts to the

   Properties as required under Knepfle. This action is a proceeding supplementary pursuant and was

   filed invoking the FSIA, 28 U.S.C. § 1610(c), Federal Rule of Civil Procedure 69(a), and Florida Statutes

   § 56.29 with a single purpose — the imposition of a constructive trust over Properties so that Casa

   can execute on its Judgment. See ECF No. [60]. The constructive trust is both the sole cause of

   action and the sole relief sought. Casa has conceded this issue, referring to these proceedings as “a

   constructive trust action” and discussing the way Casa must establish its “constructive trust claim.”

   ECF No. [222] at 2. Casa even concedes as much in its Objection by arguing that Venezuela

   waived its sovereign immunity and the FAAs permit attachment to the Properties, “this proceeding.

   . . is an action ‘brought solely [] for the purpose of enforcing or executing a [] Related Judgment.’”

   ECF No. [276] at 14. Accordingly, Casa must demonstrate connexity between the acts it has

   alleged and the Properties. See Schwartzberg v. Knobloch, 98 So. 3d 173, 177 (Fla. 2d DCA 2012).

   The taking of bribes in Florida and the imposition of the constructive trust are inextricable for

   Casa’s claim, and their connexity is required to satisfy the Florida long-arm statute. It has not done

   so here.

           Accordingly, the Court finds the R&R correctly analyzed the connexity requirement to

   warrant specific jurisdiction over Gorrin due to alleged tortious acts in Florida and agrees that was

   not satisfied here. As already adopted in this Order, Casa’s proffers of the OFAC findings and

   chart, and its own expert Luis Report, have failed to establish the necessary link to the Properties.

   The Court adopts this portion of the R&R, and the Objections on this issue are overruled. 8


           8
             As personal jurisdiction has not been established through the statutory provision, the Court need
   not reach the analysis whether exercise of personal jurisdiction also comports with due process. However,


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                    ii. Casa May Not Serve Gorrin by Email

           Casa objects to the conclusion in the R&R that it needs to re-serve Gorrin and contends its

   substitute service on Gorrin was proper pursuant to Fla. Stat. § 48.181. Casa argues the Hague

   Service Convention was unavailable in Venezuela, and as Gorrin has actively litigated this action

   for two years, there is no need to reserve him. ECF No. [276] at 31. Nevertheless, per Judge Otazo-

   Reyes request, Casa filed a declaration from Helen Caracas, “the Venezuelan attorney who

   undertook the service attempt under the Hague Convention.” Id.; ECF No. [276-7] Ex. G. Although

   Casa maintains that it has already properly served Gorrin, Casa asks the Court to adopt the R&R

   on this issue and grant Casa’s Cross-Motion on this issue.

           Respondents did not respond to the issue of service via email.

           The Court has determined it does not have personal jurisdiction over Gorrin. Consequently,

   the Court declines to adopt the R&R on this point and denies Casa’s Motion to re-serve Gorrin

   through email.

           B. Respondents’ Motion for Judgment on the Pleadings

                    i. Casa Failed to Establish a Viable Constructive Trust Over the Properties

           Judge Otazo-Reyes recommends that the Court finds Casa fails to establish a viable

   constructive trust. ECF No. [262] at 14.

           Casa contends the R&R incorrectly read the pleadings in the light most favorable to the

   Respondents, and it is only required to sufficiently allege a link exists between the Funds and the



   the Court also adopts the portion of the R&R which determined the general weakness of statutory personal
   jurisdiction over Gorrin and inconsistent with due process because Gorrin lacks sufficient minimum
   contacts with Florida. The R&R correctly observed that showing a defendant has minimum contacts with
   the forum requires demonstrating (1) purposeful availment of the forum state; (2) the cause of action arises
   out of the activities of which you purposefully availed yourself. . . and (3) reasonable foreseeability that [a
   defendant] should reasonably anticipate being haled into court there. Id. at 10-11 (citing Future Tech.
   Today, Inc. v. OSF Healthcare Sys., 218 F.3d 1247, 1250-51 (11th Cir. 2000) (cleaned up). ECF No. [262]
   at 12.


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   Properties to impose a constructive trust. ECF No. [276] at 4. Casa asserts it sufficiently alleged

   the Properties “ʻwere purchased with misappropriated Venezuelan funds’” by providing the

   addresses, legal descriptions, and dates of purchase. Id. Casa argues the R&R failed to consider

   that when this Court issued the Notices to Appear, it stated “Casa Express sufficiently identifies

   eight (8) real properties of Defendant purchased with misappropriated Venezuelan funds in the

   hands of the proposed impleaded parties.” ECF No. [4] at 3. Casa reasons if the allegations were

   sufficient for this Court to issue notices to appear and implead third parties, its allegations are

   therefore sufficient to allege a link between the Funds and the Properties to impose a constructive

   trust. ECF No. [276] at 5. Additionally, Casa objects that the R&R improperly discredits the Luis

   Report and incorrectly assumes that, because some of the Properties are listed as substitute

   properties in the Indictment, a traceability issue exists between the misappropriated Funds and all

   the Properties. Id. at 6. Moreover, Casa argues the government routinely reclassifies substitute

   property as tainted in “subsequent civil forfeiture actions.” U.S. v. Lazarenko, No. 21-10225, 2022

   WL 4127712, *2 (9th Cir. 2022). Therefore, Casa argues it is “legally incorrect” to assume the

   classification of a property as “substitute” indicates a lack of traceability. ECF No. [276] at 6.

          Respondents argue Casa failed to meet its burden to sufficiently allege a link between the

   Funds and the Properties to warrant a constructive trust, noting Judge Otazo-Reyes already

   determined on three occasions that a link either “directly or indirectly” traceable to the Funds does

   not exist. ECF No. [281] at 4. 9 Additionally, Respondents contend Casa’s assertion that the

   Properties were purchased with the Funds are “‘vague and conclusory allegations’ [which] do not

   satisfy Casa Express’ initial pleading burden.” Catalyst Pharms., Inc. v. Fullerton, 748 F. App’x

   944, 946 (11th Cir. 2018); Ashcroft v. Iqbal, 556 U.S. 662, 664 (2009).


          9
             See ECF No. [241] at 8 (quoting ECF No. [180] at 6 “a necessary link in the chain between the
   Properties and the alleged use of Venezuelan misappropriated funds to purchase them remains open.”).


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          Regarding Casa’s Objections that the government “routinely reclassifies substitute

   property” as tainted, Respondents argue that is an insufficient basis to establish traceability of the

   Funds to the Properties. ECF No. [281] at 6. Respondents contend Casa failed to overcome Judge

   Otazo-Reyes’ determination that the Luis Report does not provide the “necessary link” between

   the Funds and the Properties. ECF No. [281] at 6-7. Respondents maintain Casa’s reliance on the

   Luis Report to show traceability between the Funds and the Fisher Island Property also fails

   because a determination that the Fisher Island Property was acquired in 2009, coupled with

   OFAC’s general findings, does not establish the necessary link with the Funds warranting a

   constructive trust. ECF No. [281] at 6-7.

          The Court agrees with the R & R’s conclusion that Casa’s allegations are insufficient to

   demonstrate a causal link between the Funds and Properties. The OFAC block does not establish

   that the Funds were used to buy these Properties specifically; there is only a reference to properties

   generally. In Bender v. CenTrust Mort. Corp., 51 F.3d 1027 (11th Cir. 1995), the Eleventh Circuit

   affirmed dismissal of a constructive trust claim, holding the “specific property must be the subject

   of the inequitable transaction.” Id. at 1030. In its Motion, Casa provided the address, legal

   description, and date of acquisition for each of the Properties, and rests on the findings that the

   Funds were funneled into the Entities. However, the Motion and all supporting documents,

   including the OFAC findings, are devoid of allegations connecting the Funds to the specific

   Properties. As in Bender, specific property must be the basis of a constructive trust, not general

   property. Casa asks the Court to accept a conclusory allegation that because the Entities own the

   Properties, the misappropriated Venezuelan Funds have necessarily been used to buy each of the

   Properties in question.




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          The Court also finds that the Luis Report fails to cure the deficiency. As Casa concedes,

   “Mr. Luis opines that the Properties ‘were acquired using misappropriated Venezuelan funds,’

   relying on OFAC’s factual findings and the results of his firm’s independent investigation.” ECF

   No. [276] at 5; ECF No. [60-14] ¶¶ 26, 27, 30. The Luis Report indicates its independent

   “methodological asset search” included uncovering data available online, pulling public

   information on the Properties including deeds, liens, property tax records, and Notices of Lis

   Pendens. ECF No. [60-14] ¶¶ 31, 32. Luis’ team also pulled data proving title to the Properties is

   held by the Entities. Id. However, at most, the Luis Report revealed Respondents acquired property

   in South Florida and the Properties are either owned or controlled by Respondents who continue

   to hold title to them. Thus, the Luis Report fails to support Casa’s claim that a link exists between

   the Funds and the Properties. As Casa’s attached exhibit contradicts its general and conclusory

   allegations, the exhibit governs. Llauro v. Tony, 470 F. Supp. 3d 1300, 1314 (S.D. Fla. 2020).

   Moreover, this Court’s Order issuing Notices to Appear and commence proceedings

   supplementary has no bearing on the sufficiency of Casa’s constructive trust claim. As Casa offers

   no supporting legal authority, the Objection is without merit. S.D. Fla. L. Mag. J.R. 4(b).

   Accordingly, the R&R correctly found that Casa fails to sufficiently allege a link between the

   Funds and the Properties to establish a constructive trust over the Properties, and the Objections

   are overruled on this issue.

                  ii. Casa Failed to Establish Standing

          Judge Otazo-Reyes recommends Respondents’ Motion be granted on the affirmative

   defense that Casa lacks standing. ECF No. [262] at 16. The R&R notes Casa has not pled Article

   III standing. Casa’s argument that it has standing because Florida law permits judgment creditors

   “to step into the shoes of its judgment debtor” is an improper “chose in action” of Venezuela and




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   Casa lacks standing based on this theory. Finally, the R&R determined Venezuela did not assign

   its litigation rights to Casa.

                   a. Casa Does Not Have Article III Standing

           Casa failed to object to the portion of the R&R indicating it lacks Article III or prudential

   standing. Although Casa argues it objects “to the entire section of the standing analysis” in the

   R&R, Casa failed to provide specific objections. Therefore, this general objection is improper, and

   the Court reviews for clear error. S.D. Fla. L. Mag. L.R. 4(b); see Macort, 208 F. App’x at 784.

   The reviewing district court “must only satisfy itself that there is no clear error on the face of the

   record in order to accept the recommendation.” Macort, 208 F. App’x at 784 (citing Diamond v.

   Colonial Life & Accident Ins., 416 F.3d 310, 315 (4th Cir.2005) (quotations omitted)).

           The R&R notes Respondents’ “thorough analysis” of constitutional and prudential

   standing. ECF No. [262] at 14. Respondents argue Casa has not suffered an injury in fact traceable

   to conduct by Respondents. ECF No. [232] at 8. The underlying injury, Venezuela’s failure to

   repay the bonds, is not traceable to any conduct by Respondents. Moreover, Casa’s injury is not

   particularized, it only has a generalized grievance regarding the currency schemes, and there is no

   claim the currency schemes caused the bonds to go unpaid. Id. Redressability fails as the OFAC

   block over the Entities and thus the Properties requires Casa to obtain a license through OFAC to

   reach the Properties. Id. Thus, redressability requires an action beyond this Court. Accordingly,

   the Court agrees that Article III standing is absent and adopts this portion of the R&R.

                   b. Casa Does Not Have Standing Through Its Judgment Debtor Nor a
                      “Chose in Action” of Venezuela

           Casa objects to the finding in the R&R that it lacks standing as a judgment creditor to step

   “into the shoes of its judgment debtor.” Casa contends supplemental proceedings are equitable and

   “should be interpreted liberally to ensure judgment creditors get the most complete relief possible.”



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   Ortiz v. Sanniuli Corp., No. -CIV, 2010 WL 2926517, at*1 (S.D. Fla. July 23, 2010). Casa argues

   Florida law has long recognized the right of judgment creditors to step into the shoes of its

   judgment debtor to impose a constructive trust over property held by a third party. ECF No. [276]

   at 7.

           For support, Casa cites to a 1935 Florida Supreme Court case, Hillsborough Cnty. v.

   Dickenson, 125 Fla. 181 (Fla. 1935), which held a judgment creditor “may pursue in a court of

   equity any equitable interest . . . in whosesoever hands it may be found . . . including in a

   constructive trust.” Id. 186-87. Casa also relies on Puzzo v. Ray, 386 So. 2d 49 (Fla. 4th DCA

   1980) to argue Florida routinely permits judgment creditors to prosecute claims of judgment

   debtors against third parties in supplementary proceedings. See generally, Id.; ECF No. [276] at 7.

   Finally, Casa relies on Allen v. Hinson, 560 So. 2d 411 (Fla. 1st DCA 1990) to argue Florida courts

   broadly construe the term “any property” in supplemental proceedings “to encompass all property

   and property rights of the defendant” which can be reached by a judgment creditor. Id. at 412.

           Casa also objects that the R&R misapplied Puzzo v. Ray and reasons a chose in action is

   permissible here. Casa contends Puzzo is sufficient to overrule the finding in the R&R that a

   personal chose in action of Venezuela is inappropriate as Puzzo established a “ʻchose in action’

   includes claims ʻfor a tort or omission of a duty’” which Casa alleges exists, notwithstanding the

   sensitive nature of a sovereign. Id., 386 So. 2d at 50.

           Respondents argue Casa lacks standing “to assert Venezuela’s cause of action against

   Respondents.” ECF No. [281] at 12. Respondents contend the Florida proceedings supplementary

   statute, Fla. Stat. § 56.29, does not confer standing that permits Casa to “usurp the foreign

   sovereign, seize its potential cause of action, and file suit against its debtors” without Venezuela’s

   approval. Id. Respondents also point out that none of the cases Casa relies on involves a private




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   judgment creditor obtaining title to the foreign sovereign’s “chose in action”, and involving

   allegations of corruption perpetrated by the sovereign’s government officials. Id.

          The Court finds Casa’s arguments do not disturb Judge Otazo-Reyes conclusion that Casa

   lacks standing based on an argument it may stand in the shoes of its judgment creditor or through

   asserting a “personal chose in action” of Venezuela to impose the constructive trust. The cases

   Casa relies on do not support the issues presented here. In Hillsborough Cnty., the county

   commissioners sought to recover fees collected and usurped by a former clerk. 125 Fla. at 183

   (Fla. 1935). The clerk no longer had the funds, as he used them to buy real property and equities

   placed into a trust for his daughter. Id. The Florida Supreme Court noted the case was strictly at

   law “to establish the amount of the claim alleged to be due.” Id. at 185. Whether or not certain

   funds were reachable in equity once all legal remedies were exhausted required a separate action.

   Id. Therefore, while Hillsborough Ctny. held “a judgment creditor may pursue in a court of equity

   any equitable interest, trust, or demand of his debtor, in whosesoever hands it may be found []

   including a constructive trust,” the court constrained itself to a determination of the amount due

   the creditors at law. Id. at 186. Moreover, as Hillsborough Cnty. pertained to a local county issue,

   and the trust in question held by the debtor’s daughter, the case does not provide support that Casa

   may stand in the shoes of Venezuela as a sovereign and seek imposition of the constructive trust

   it seeks against third-party Respondents.

          Nor does Puzzo support Casa’s argument that a chose of action is appropriate. In Puzzo,

   the plaintiff converted specific property (furniture and goods) of a judgment debtor by physically

   taking and storing it in Puzzo’s warehouse. 386 So. 2d 49. There was “substantial competent

   evidence” the property was converted by him in that manner. Id. at 50. The converted items became

   the subject of a debt, and the judgment creditor sought a chose of action. Id. The court relied on




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   Fla. Stat. § 56.29(5) providing “[t]he judge may order any property of the judgment debtor, not

   exempt from execution, in the hands of any person or due to the judgment debtor to be applied

   toward the satisfaction of the judgment debt.” Id. at 50 (emphasis added). While the court held a

   judgment creditor may reach a judgment debtor’s right of action against the judgment debtor’s

   tortfeasor, Puzzo does not address the sensitive sovereign issues the R&R determined exist here,

   and its holding is limited to property does not exempt from execution which is contested here.

          Accordingly, Judge Otazo-Reyes correctly found that Casa failed to demonstrate that it

   may step into the shoes of Venezuela to seek imposition of a constructive trust, or that it may

   obtain title to the chose in action of Venezuela to alternatively confer standing. The Court adopts

   the recommendation of the R&R, overrules the Objection, and Respondents are entitled to

   judgment on the pleadings on this issue.

                    c. Venezuela Did Not Assign Litigation Rights to Casa Through its Letter of
                       No Objection to Pursue an OFAC License

          Casa objects to the R & R’s conclusion that it was not assigned litigation rights by

   Venezuela, and that it failed to analyze the legal requirements to make an assignment of litigation

   rights. Casa argues it has standing to pursue its claims “because Venezuela assigned its litigation

   rights to Casa Express pursuant to a Venezuelan law” (“VZ Law”). ECF No. [276] at 9. 10 Casa

   submitted its proposal to Venezuela (“Proposal”) on March 2, 2022, and notes the Special Attorney

   General of Venezuela issued an approval (“VZ Approval”) on March 17, 2022. Id. at 12. 11 Casa

   agues Venezuela approved Casa’s proposal to execute against the Properties and expressed

   Venezuela’s “willingness to grant the requested Letter of No Objection to be addressed to OFAC.”

   ECF No. [276] at 12.



          10
               Casa filed a copy of the VZ Law at ECF No. [276-1].
          11
               Casa filed a copy of the VZ Approval at ECF No. [276-5].


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          Next,        Casa       provides          a        declaration    from       its      expert,

   Oscar I. Silva Guzman, (“Silva Declaration”). ECF No. [276-2]. Silva is a “lawyer authorized to

   practice law in the Bolivarian Republic of Venezuela,” and opined the Letter of No Objection

   constitutes an assignment of litigation rights because the “approval of a proposal submitted by an

   interested creditor pursuant to the VZ law constitutes an assignment of Venezuela’s litigation

   rights. . . given Venezuela expressly guarantees that the assets, if recovered, will be used to repay

   the interested creditor’s judgment and the surplus, if any, must be delivered to Venezuela.” ECF

   No. [276-2] at ¶ 10. Casa adds that this assignment “is an act of state that cannot be second guessed

   by this Court.” ECF No. [276] at 13. Therefore, Casa argues Venezuela assigned Casa its litigation

   rights to execute on the Judgment through the Properties.

          Respondents argue the Silva Declaration is procedurally flawed and should be rejected as

   it is a new document outside of the pleadings in violation of the Federal Rules; standing based on

   an assignment of rights by Venezuela was not alleged in the Amended Motion and is therefore

   beyond the pleadings; the declaration was not made available to Judge Otazo-Reyes and this Court

   has broad discretion whether or not to even consider it; the declaration provides dates inconsistent

   with prior filings regarding this issue; and the Silva Declaration is inadmissible pursuant to

   28 U.S.C. § 1746(1) because it is undated. Id.

          Substantively, Respondents argue the Silva Declaration is unavailing as it fails to solve the

   issue identified in the R&R, that Casa has not considered the legal requirements to establish

   Venezuela made an assignment of litigation rights and whether the VZ Law sufficiently meets

   those requirements. ECF No. [281] at 13, 15-16. Finally, Respondents contend the March 17, 2022

   letter from the Venezuelan Attorney General postdates the August 27, 2021 commencement of

   this action, and therefore cannot be used to show standing exists. Id. at 16; see ECF No. [1].




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          The Court agrees that Casa failed to establish it has been assigned litigation rights by

   Venezuela and therefore has standing in this matter. As Casa conceded at the Hearing,

          I realize the hesitance from the court to accept the [VZ Law] as an assignment. It is
          an authorization to sue under Venezuelan law . . . In my opinion, your Honor, that
          was an assignment. Maybe there are other legal things that have not been
          established that would not make it an assignment . . . but at a minimum,
          authorization to sue.
   Hearing, ECF No. [267] at 47.

          The Silva Declaration does not demonstrate Casa satisfied the legal requirements to obtain

   a valid an assignment of rights from Venezuela under Venezuelan law. The Silva Declaration

   simply rehashes Casa’s prior arguments that Casa received a Letter of No Objection as already

   indicated at the Hearing and in its written Objection. See ECF No. [251] at 4, 6. Moreover, the

   Silva Declaration provides no explanation how a Letter of No Objection, requiring Casa to apply

   for a license with OFAC, is equal to an assignment of rights. Silva simply concludes “it is my

   opinion that Venezuela assigned to Casa Express its litigation rights against Gorrin and his

   controlled entities relating to its ownership interest in the Subject Properties.” ECF No. [276-2] at

   6. That opinion fails “to consider the legal requirements for making an assignment of litigation

   rights” as noted in the R&R.

          Objections to an R&R are improper when they “are nothing more than a rehashing of the

   same arguments and positions taken in the original papers submitted to the Magistrate Judge.”

   Marlite, Inc. v. Eckenrod, No. 10-23641-CIV, 2012 WL 3614212, at *2 (S.D. Fla. Aug. 21, 2012).

   The Silva Declaration restates the same argument Casa provided, that the Letter of No Objection

   is an assignment without explaining the law supporting such an assertion. Additionally, the Silva

   Declaration is legally deficient because it is undated. Pursuant to 28 U.S.C. § 1746, any matter

   which may be supported by a sworn declaration must be in writing “and dated.” Id.




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            Further, the Court notes that, even accepting Casa’s claim that the Letter of No Objection

   is an assignment of litigation rights, reliance on the VZ Law still fails because “standing must be

   determined as of the commencement of the suit.” Lujan v. Defenders of Wildlife, 504 U.S. 555,

   570-71, n.5 (1992). This action was initiation on August 7, 2021. ECF No. [1]. The VZ Law was

   enacted on February 21, 2022, and the Letter of No Objection was issued even later, on March 17,

   2022. ECF No. [276-1] at 5. Accordingly, Respondents are entitled to judgment on the pleadings

   with respect to their affirmative defense that Casa lacks standing through the purported assignment

   of litigation rights by Venezuela, and the Objections are overruled on this issue.

                   iii. FSIA Immunity Was Not Waived

            In the R&R, Judge Otazo-Reyes determined that if the Properties belong to Venezuela,

   they are immune from attachment pursuant to 28 U.S.C. § 1610 as “commercial activity” was not

   found here. 28 U.S.C. § 1610(a)(1-2).

            Casa objects that Venezuela “expressly and irrevocably waived its foreign immunity” in

   the FAA, therefore the conclusion in the R&R is clearly erroneous. ECF No. [276] at 14. Next,

   Casa objects that the R&R failed to address whether Venezuela owns the Properties in its

   28 U.S.C. § 1610(a) analysis, which was error. Id. at 15. Casa asserts there is a genuine issue of

   fact regarding who owns the Properties, and judgment on the pleadings is inappropriate. Id.

   Finally, Casa maintains Venezuela assigned its litigation rights by accepting Casa’s Proposal and

   used the Properties for commercial activity by doing so. Id. Each of these Objections is analyzed

   below.

                   a. The FAA Cannot Independently Waive FSIA Immunity

            Casa concedes the Partial Default Judgment issued against Venezuela was limited to

   waiver from suit. ECF No. [276] at 14. However, Casa objects that the R&R failed to consider the

   allegations in its Amended Motion that Venezuela did waive sovereign immunity from suit and


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   execution in the FAA. Id. Casa argues the “Waiver of Immunity” provision in the FAA is “plain

   and irrevocable,” written as follows:

          To the extent that the Issuer [Venezuela] or any of its revenues, assets or properties
          shall be entitled, . . . with respect to any suit, action or proceeding at any time
          brought solely for the purpose of enforcing or executing any Related Judgment in
          any jurisdiction in which any Specified Court or Other Court is located, to any
          immunity from suit, from the jurisdiction of any such court, from attachment prior
          to judgment, from attachment in aid of execution of judgment, from execution of a
          judgment or from any other legal or judicial process or remedy, and to the extent
          that in any such jurisdiction there shall be attributed such an immunity, the Issuer
          irrevocably agrees not to claim and irrevocably waives such immunity to the fullest
          extent permitted by the laws of such jurisdiction (including, without limitation, the
          Foreign Sovereign Immunities Act of 1976 of the United States)
          ECF No. [60-24], [60-25] at § 14(d) (emphasis added).

          Casa objects to the R&R’s conclusion that the FAA is expressly limited to Venezuela’s

   waiver of immunity to suit, arguing that the conclusion is “clearly erroneous,” and the waiver in

   its entirety migrated into this proceeding which was “brought solely for the purpose of enforcing

   or executing a [] Related Judgment.” See ECF No. [60-24] at § 14(d); ECF No. [276] at 14.

          Respondents note Casa’s concession and respond that Judge Otazo-Reyes’s holding is

   consistent with the established statutory requirement that a waiver requires actual commercial use

   by the foreign sovereign, and reliance on language in an FAA is insufficient for a finding that

   immunity was waived under the FSIA pursuant to Section 1610(a). ECF No. [281] at 11. For

   support, Respondents cite to both the plain language of Section 1610(a) and Bainbridge Fund Ltd.

   v. Republic of Argentina, 2023 WL 5747299 (S.D.N.Y. Sept. 6, 2023). Respondents therefore

   argue the R&R is correctly reasoned, and Casa’s reading of the FAA fails.

          As Judge Otazo-Reyes correctly points out, waiver from attachment and execution is not

   present here. Pursuant to the FSIA limitations, “property in the United States of a foreign state

   shall be immune from attachment, arrest, and execution except as provided in sections 1610 and

   1611.” 28 U.S.C. § 1609. Section 1610(a) provides:



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          The property in the United States of a foreign state . . . used for a commercial
          activity in the United States, shall not be immune from attachment in aid of
          execution, or from execution, upon a judgment entered by a court of the United
          States . . . if (1) the foreign state has waived its immunity from attachment in aid of
          execution . . . or, (2) the property is or was used for the commercial activity upon
          which the claim is based.

          28 U.S.C. § 1610(a)(1)

          Bainbridge determined when an agreement, like the FAAs controlling the bond agreement

   here, is written waiving sovereign immunity to the “extent permitted by the laws of the jurisdiction’

   . . . the statutory requirements of the FSIA remained intact.” 2023 WL 5747299, at *5. Therefore,

   Bainbridge held the statutory requirement in 28 U.S.C. § 1610(a) applies, requiring an asset be

   “used for a commercial activity in the United States” and such assets remain “immune from

   execution unless they satisfy this requirement.” Id.

          The plain language of Section 1610(a) and the guidance from persuasive case law makes

   clear that a sovereign’s waiver of immunity with respect to attachment of property is insufficient

   on its own and remains constrained by the FSIA. A plaintiff is required to show the underlying

   property was used for a commercial activity in the United States before waiver from attachment

   or execution can be effective. Here, the Court finds no basis to conclude that the Properties were

   used for a commercial activity within the meaning of Section 1610(a). Moreover, the waiver as

   written into the FAA is expressly limited to laws of the jurisdiction and “the Foreign Sovereign

   Immunities Act of 1976 of the United States.” ECF Nos. [60-24], [60-25] § 14(d). Accordingly,

   the Court finds the R&R correctly interprets the relevant provisions within 28 U.S.C. § 1610(a),

   and the Objections are overruled on this issue.

                  b. Ownership of the Properties as a Necessary Element Under
                     28 U.S.C. § 1610

          Casa objects to the R & R’s failure to address the ownership element under

   28 U.S.C. § 1610(a) and whether the Properties belong to Venezuela. ECF No. [276] at 15. Casa


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   additionally objects that judgment on the pleadings as to this element of the FSIA is inappropriate

   because the pleadings reveal a genuine issue of fact: Casa alleges the Properties are “property of

   Venezuela” and Respondents answer “the properties do not belong to Venezuela.” Compare ECF

   No. [60] at 13 with ECF No. [127] at 5. Casa argues such “comparison of the averments [means]

   judgment on the pleadings must be denied.” Perez v. Wells Fargo N.A., 774 F.3d 1329, 1335 (11th

   Cir. 2014).

          Respondents argue the ownership issue was properly considered by Judge Otazo-Reyes in

   the R&R, which reads “assuming arguendo Casa’s claim the Properties belong to Venezuela, they

   would be immune from attachment. . . under the FSIA.” ECF No. [262] at 16. According to

   Respondents, the conditional statement “assuming arguendo” plainly means the R&R analyzed

   ownership as alleged by Casa.

          The Court finds Judge Otazo-Reyes’ analysis on FSIA immunity was based on the premise

   that the Properties belong to Venezuela. Id. The analysis also includes reference to the FSIA

   providing it is “property in the United States of a foreign state” in citing to 28 U.S.C. §§ 1601, et

   seq; 1610. Thus, the ownership of the Properties was sufficiently addressed in the R&R, and Judge

   Otazo-Reyes correctly incorporated that ownership into the R&R’s analysis, and concluded the

   Properties remain immune from attachment and execution under the FSIA, 28 U.S.C. § 1610(a).

   Based upon the plain language in Judge Otazo-Reyes’ analysis, the Court does not find error, and

   the Objections are overruled on this issue.

                  c. The Properties Were Not Used for a Commercial Activity

          Casa objects that the R&R incorrectly concluded Venezuela did not use the Properties in a

   commercial activity. Casa argues Venezuela assigned its litigation rights by accepting Casa’s

   Proposal pursuant to the VZ Law which constitutes commercial activity. ECF No. [276] at 15.

   Casa contends it is immaterial whether the VZ Law identifies the Properties because its Proposal


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   clearly did so. Id. Further, when the Attorney General of Venezuela accepted the Proposal, it was

   an act of state that this Court cannot “second guess.” Id. Finally, Casa contends it is irrelevant

   whether the alleged FSIA commercial activity occurred after initiation of these proceedings.

          Casa also objects that the R&R erred in concluding Venezuela’s “guarantee does not

   constitute use of Properties for commercial activities.” Id. at 15-16. Casa argues the R&R

   incorrectly relied on United States v. M/Y Galactica Star, 13 F.5th 448 (4th Cir. 2021) which held

   a nation’s participation in the sale of its property does not rise to commercial activity warranting

   a waiver of its FSIA sovereign immunity. Id. at 459. Instead, Casa contends guaranteeing the

   repayment of debt with specific property is recognized commercial activity and relies on three

   cases for support: Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 616 (1992), Honduras

   Aircraft Registry, Ltd. v. Gov't of Honduras, 129 F.3d 543, 547 (11th Cir. 1997), and Guevara v.

   Republic of Peru, 468 F.3d 1289, 1300 (11th Cir. 2006).

          Finally, Casa argues for purposes of pleading standards, the movant must establish there is

   no unresolved issue of material fact to be entitled to judgment as a matter of law. ECF No. [276]

   at 17. Casa argues Venezuela’s use of the Properties creates such an issue because Respondents

   “deny the Proposal ever occurred” warranting denial of Respondents’ Motion on this issue. Id.

          Respondents reason they do not deny a Proposal exists but simply argue “there is no

   agreement between Venezuela and anyone regarding the sale of the Properties.” ECF No. [281] at

   11. Next, Respondents argue commercial activity for purposes of FSIA immunity must be

   established at the time the suit was filed, such as standing, and cite to TIG Ins. Co. v. Rep. of

   Argentina, 967 F.3d 778 (D.C. Cir. 2002). In TIG Ins., the D.C. Circuit held “time of filing

   approach best accords with the text and purpose of the FSIA.” Id. at 782.




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           Respondents argue Casa fails to distinguish this matter from Galactica Star, and the case

   law Casa introduced fails to interpret Section 1610(a). ECF No. [281] at 11. In Guevara and

   Weltover, the disputes pertained to 28 U.S.C. §§ 1605(a) and 1605(a)(2), respectively, which is

   not at issue here. Thus, the cases are “entirely distinguishable” and do not disturb the reasoning in

   the R&R. 12 ECF No. [281] at 11.

           As adopted earlier in this Order, the Court agrees that Venezuela did not assign its litigation

   rights to Casa. As such, Casa’s argument that commercial activity occurred because of an

   assignment of litigation rights fails. Casa objects to the finding in the R&R that the alleged

   commercial use (Venezuela’s acceptance of Casa’s Proposal) occurred after this action was filed,

   by merely disagreeing with the conclusion in the R&R. Casa’s unsupported assertion provides no

   authority for its argument in violation of S.D. Fla. L.R. Mag. R. 4(b). Therefore, Casa failed to

   provide a basis to sustain its objection.

            Moreover, the persuasive holding in Galactica Star that “only the foreign state itself can

   waive its sovereign immunity through its own actions” is instructive. 13 F.5th at 459. An act

   encouraging another entity to sell or engage in commercial activity of sovereign property is

   insufficient to waive FSIA immunity. Id. In Galactica Star, the judgment creditor, Enron Nigeria,

   appealed a district court’s denial of its motion for turnover relief upon discovery of an interlocutory

   sale of a yacht it sought to attach to satisfy its judgment. 13 F.5th at 458. On appeal, Nigeria argued

   the FSIA “provides the sole, comprehensive scheme for enforcing judgments against foreign

   sovereigns in civil litigation” and as Nigeria did not waive its sovereign immunity, the court lacked

   jurisdiction. Id. (citing Af-Cap, Inc. v. Republic of Congo, 462 F.3d 417, 428 (5th Cir. 2006)). The



           12
              Respondents did not cite Honduras Aircraft Registry, Ltd. v. Gov’t of Honduras, 129 F.3d 543
   (11th Cir. 1997) in this portion of its Response, however, Honduras Aircraft is similarly a dispute regarding
   28 U.S.C. § 1605(a)(2) and did not mention § 1610(a), which is in dispute here.


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   judgment creditor seeking attachment argued Nigeria used its claims to ask for and to participate

   in the sale of the yacht in the United States, which was sufficient commercial activity under Section

   1610(a) of the FSIA. Id. at 459. The Fifth Circuit held such acts were insufficient, and referenced

   its prior holdings that it is “only the foreign sovereign that can waive its sovereign immunity.” Id.

   Participation in a sale of property and discussions on price or manner of a sale conducted by a non-

   sovereign are insufficient to trigger a waiver of immunity by the sovereign. Id. Therefore, taking

   Casa’s allegations as true that Venezuela is the true owner of the Properties, there was no

   commercial activity based upon a proposal or use of a claim that triggered waiver of Venezuela’s

   FSIA Section 1610(a) sovereign immunity from attachment here.

          Moreover, the legal authorities Casa offered are not pertinent. Casa failed to provide

   supporting authority pursuant to 28 U.S.C. § 1610(a). Id. Guevara, Honduras Aircraft, and

   Weltover are based on 28 U.S.C. § 1605 which provides “general exceptions to the jurisdictional

   immunity of a foreign state.” Casa’s Amended Motion was brought under 28 § U.S.C. 1610, not

   § 1605. ECF No. [60] at 1. Therefore, Casa failed to provide a basis for sustaining an objection to

   this portion of the R&R.

          Accordingly, Respondents are entitled to judgment on the pleadings with respect to the

   affirmative defense of FSIA immunity, and the Objections are overruled on this issue.

                  iv. OFAC Regulations

          Judge Otazo-Reyes did not recommend Respondents’ Motion be granted with respect to

   their affirmative defense based on OFAC regulations. ECF No. [262] at 19.

          Casa asks this Court to adopt the R&R’s conclusion that Respondents should not be entitled

   to judgment on the pleadings with respect to the affirmative defense on OFAC regulations. ECF

   No. [276] at 22. However, Casa objects to the finding that all of the Properties are blocked by




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   OFAC. Casa argues that the Fisher Island and Collins Avenue Properties 13 are held by entities with

   no OFAC designation. Id.

          Respondents argue the Fisher Island and Collins Avenue Properties are blocked by OFAC,

   and OFAC, the sole entity that can unblock these properties, has not done so. ECF No. [281] n. 4.

   Furthermore, efforts by a different creditor to reach those two properties failed, citing Caballero

   v. FARC, 2023 WL 5437222 (S.D. Fla. Aug. 21, 2023).

          The Court finds Judge Otazo-Reyes has correctly pointed out that, although the letter

   proffered by Casa from OFAC does not support the imposition of a constructive trust, it does

   “encourage” Casa to “submit a license application.” ECF No. [257-1] at 3. As Respondents

   concede, blocked assets can be reached with an appropriate OFAC license. Here, the OFAC

   Interpretive Guidance Letter written by OFAC’s Deputy Assistant Director for Licensing

   demonstrates Casa may be able to obtain an OFAC license permitting Casa to seek settlement,

   enforcement of a lien, judgment, “or otherwise alter property interests in property blocked.” ECF

   No. [257-1] at 3. As such, the Court finds the R&R correctly interprets the OFAC communication

   indicating there is a potential of a license being issued to Casa from OFAC. Accordingly, the Court

   adopts this portion of the R&R, and Respondents are not entitled to judgment on the pleadings

   with respect to the affirmative defense that Casa lacks an OFAC license. However, even if Casa

   were to be successful and obtain an OFAC license, the other affirmative defenses are still present

   and would prevent Casa from reaching the Properties.

                  v. Act of State Doctrine Precludes this Court from Addressing the Claims

          Casa objects that this Court has already “conclusively adjudicated” the acts of two former

   Venezuelan Treasurers were in breach of their fiduciary duties to Venezuela by issuing Default


          13
            “Collins Avenue Property” is located at 18555 Collins Avenue, Unit 44401, Sunny Isles Beach,
   FL 33161.


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   Judgments against them. ECF No. [262] at 18-19; see ECF Nos. [216], [219]. Casa maintains this

   shows “the act of state doctrine is inapplicable to this proceeding.” ECF No. [276] at 19.

          For support, Casa cites to Kirkpatrick & Co. v. Env’t Tectonics Corp., Int’l, 493 U.S. 400

   (1990), which held the act of state doctrine only arises “when the outcome of the case turns on. . .

   the effect of official action by a foreign sovereign.” Id. at 406. In Kirkpatrick, an unsuccessful

   bidder for a Nigerian state contract sued its competitor upon learning bribes were made to secure

   the state contract. Id. at 400. The Supreme Court determined the act of state doctrine did not apply

   because the legality of the Nigerian contract was not at issue. Id. at 406. Casa argues that, like in

   Kirkpatrick, it only seeks to establish that bribes were contemporaneously paid to the Venezuelan

   National Treasurers, allowing Gorrin to misappropriate the Funds through compromised foreign

   currency exchange schemes. ECF No. [276] at 19. Casa argues this does not implicate the act of

   state doctrine, nor does any act by Gorrin because he is not an official of a state. Id.

          Respondents argue Kirkpatrick is distinguishable as a suit between civilians over a single

   government contract. ECF No. [281] at 7. The Supreme Court found the “factual predicate for the

   application of the act of state doctrine [did] not exist” because the Court did not need to investigate

   the acts of the state, it merely reviewed whether a bribe occurred. 493 U.S. at 405. In contrast,

   Casa alleges the Properties are derived from Funds obtained through an “illicit and corrupt foreign

   currency exchange scheme” implicating the acts of a foreign sovereign. ECF No. [60] at 2.

          Additionally, Respondents contend Casa seeks to impose a constructive trust which

   requires a finding of unjust enrichment and invalidation of the currency exchange contracts issued

   by the National Treasurers. Team Servs. Inc. v. Securitas Electronic Sec., Inc., 2023 WL 6890660,

   at *11 (11th Cir. 2023) (“the existence of an express contract . . . precluded its unjust enrichment

   claim.”). Respondents argue as this “unjust enrichment claim necessarily hinges on the asserted




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   invalidity of an act of state and the act of state doctrine precludes this court from addressing these

   claims.” Glen v. Club Med. S.A., 365 F. Supp. 2d 1263, 1271 (S.D. Fla. Apr. 7, 2005), aff’d 450

   F.3d 1251 (11th Cir. 2006).

          As Judge Otazo-Reyes determined, the act of state doctrine precludes this Court from

   deciding whether the acts of two former Venezuelan Treasurers were illegitimate. As Casa has

   predicated its constructive trust theory on the underlying, purported breach of trust, Casa cannot

   obtain the constructive trust on the Properties it seeks. This Court’s prior default judgments against

   Guillen and Andrade were limited, uncontested determinations and fail to show the act of state

   doctrine is inapplicable. The act of state doctrine “is not some vague doctrine of abstention, but a

   ‘principle of decision binding on federal and state courts alike.’” Kirkpatrick, 493 U.S. at 406. As

   the Supreme Court noted, a “factual predicate for the application of the act of state doctrine [must]

   exist” because the doctrine arises “when a court must decide — that is, when the outcome of the

   case turns upon — the effect of official action by a foreign sovereign.” Id. at 406-05. Here, the

   outcome of this case, the imposition of the constructive trust to satisfy the Judgment, turns upon

   whether the Venezuelan contracts can be invalidated to support Casa’s unjust enrichment theory

   and therefore execute on the Properties. Consequently, the act of state doctrine applies and

   precludes this necessary determination regarding the Venezuelan contracts. Accordingly, the

   Court adopts this portion of the R&R with respect to the affirmative defense of the act of state

   doctrine, and the Objections in the R&R are overruled.

                  vi. Ancillary Jurisdiction Does Not Extend to Respondents

          Judge Otazo-Reyes found ancillary jurisdiction does not exist here because “[a]ncillary

   jurisdiction does not extend to ‘a new lawsuit to impose liability for a judgment on a third party.’”

   Nat’l Mar. Servs., Inc. v. Straub, 776 F.3d 783, 787 (11th Cir. 2015) (quoting Peacock v. Thomas,




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   516 U.S. 349, 359 (1996)). Moreover, subject matter jurisdiction under the FSIA does not exist as

   such jurisdiction applies to a sovereign and not to Respondents. ECF No. [262] at 21.

          Casa objects and argues it is clear error that the R&R fails to accept as true Casa’s

   allegation that the Properties belong to Venezuela. ECF No. [276] at 19; ECF No. [60] at 13. Casa

   argues the Properties are merely in the hands of the third parties who hold title to the Properties.

   Casa contends only Venezuela as true owner would be liable upon execution of the Properties,

   therefore ancillary jurisdiction exists. ECF No. [276] at 19. For support, Casa relies on Nat’l Mar.

   Servs. where the Eleventh Circuit held the defendant was not “personally liable” for an underlying

   judgment when liability was limited to proceeds from a fraudulent transfer, nor was the claim

   considered a new lawsuit imposing a new liability on that defendant. 776 F.3d at 359. Casa also

   objects that the R&R incorrectly distinguished Nat’l Mar. Servs. because it involved a fraudulent

   transfer claim. ECF No. [276] at 20. Nevertheless, Casa argues these proceedings are akin to a

   fraudulent transfer because it seeks to recover assets in the hands of a third party. Id. at 21.

          Finally, Casa argues this Court possesses federal question jurisdiction under

   28 U.S.C. § 1331, through the FSIA, 28 U.S.C. § 1605(a)(1), the immovable property exception

   in 28 U.S.C. § 1605(a)(4), and the FAA waiver in the bond agreements. ECF No. [276] at 22.

          Respondents argue Casa’s conclusory allegations regarding ownership of the Properties

   are not entitled to an assumption of truth and are contradicted by its own expert in the Luis Report.

   ECF No. [281] at 18. Respondents contend Casa’s reliance on Nat’l Mar. Servs. is unavailing as

   the decision was based upon a fraudulent transfer claim and is distinguishable from a constructive

   trust claim. Id. Regarding alternate means to establish jurisdiction, Respondents argue Casa’s

   Amended Motion did not assert 28 U.S.C. § 1331 federal question jurisdiction, nor 28




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   USC § 1605, and therefore cannot be asserted now. Id. Moreover, as a constructive trust has failed

   in this action, the immovable property exception is not applicable.

          As Judge Otazo-Reyes correctly points out, Casa’s reliance on Nat’l Mar. Servs., Inc. v.

   Straub, 776 F.3d 783 (11th Cir. 2015) is unavailing. In Nat’l Mar. Servs., the plaintiff filed a

   complaint against the defendant, Glen Straub, and his entity, Burrell Shipping. While the case was

   pending, Burrell Shipping sold a valuable vessel, and transferred the proceeds to Straub. Id. at 785.

   Plaintiff obtained a final judgment against Burrell Shipping, which was left with no assets. Plaintiff

   initiated a supplemental proceeding against Straub pursuant to Fed. R. Civ. P. 69(a) and Fla.

   Stat. § 56.29(6)(b); Section 56.29 permits a trial court to void a transfer of property made “by the

   judgment debtor to delay, hinder, or defraud creditors.” Id. at 785. The district court voided the

   transfer pursuant to the Fraudulent Transfer Act, Fla. Stat. § 726.105. On appeal, the Eleventh

   Circuit affirmed, noting ancillary jurisdiction existed because the plaintiff “sought to disgorge

   Straub of a fraudulently transferred asset, not to impose liability for a judgment on a third party.”

   Id. at 787-88. Here, there is no property transferred during pendency of a trial, no indication

   property liability can be limited in the same manner, nor has Casa sought a legal determination

   pursuant to the Fraudulent Transfer Act, as in Nat’l Mar. Servs. Therefore, Nat’l Mar. Servs. does

   not support Casa’s argument.

          In Peacock v. Thomas, 516 U.S. 349 (1996), a plaintiff was awarded a money judgment in

   district court against his former employer for ERISA violations. Id. at 351. During appeal, an

   officer of the company settled other similar claims, while the district court entered judgment

   against the employer only. Id. The Supreme Court pointed out that the allegations against the

   officer as respondent were independent from those in the initial suit against its employer. Id. at

   355-56. The Supreme Court also noted it has “approved the exercise of ancillary jurisdiction over




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   a broad range of supplementary proceedings involving third parties . . . [but] never authorized the

   exercise of ancillary jurisdiction in a subsequent lawsuit to impose an obligation to pay an existing

   federal judgment on a person not already liable for that judgment.” Id. at 356-57. Here, in contrast,

   Casa seeks to attach properties under legal theories unrelated to its initial suit for non-payment of

   bonds against Venezuela. However, Respondents are not “already liable” for the Judgment for

   unpaid bonds awarded to Casa in the Southern District of New York. It is this posture that led the

   Supreme Court to deny ancillary jurisdiction in Peacock. The court in Nat’l Mar. Servs. pointed

   out the distinction with Peacock:

          In contrast with Peacock, the district court had ancillary jurisdiction over this
          supplementary proceeding because National Maritime sought to disgorge Straub of a
          fraudulently transferred asset, not to impose liability for a judgment on a third party.
          Nat’l Mar. Servs. 776 F.3d at 787.
          Casa is incorrect its claims here are “akin” to a fraudulent transfer to avoid application of

   Peacock. In Nat’l Mar. Servs., the court ruled a fraudulent transfer occurred based upon a statutory

   finding, applying Fla. Stat. § 736.105(1)(a) and § 726.106(2), which does not exist here. 776 F.3d

   at 786. Therefore, the Court finds that the R&R is correct. Peacock applies which limits jurisdiction

   to Venezuela.

          The whole basis of these proceedings supplementary is to establish a link to the Properties

   such that a constructive trust can be imposed. Respondents are not currently liable for the Judgment

   against Venezuela for the unpaid proceeds of the Bonds. Moreover, different legal theories are

   involved in these proceedings, in violation of Peacock and longstanding Supreme Court

   jurisprudence. Id. at 358 (“In determining the reach of the federal courts' ancillary jurisdiction, we

   have cautioned against the exercise of jurisdiction over proceedings that are ‘entirely new and

   original’”) (citing Krippendorf v. Hyde, 110 U.S. 276, 285 (1884)).




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           Additionally, the Court does not address the new jurisdictional arguments set forth by Casa

   in its Objection. Casa did not argue jurisdiction exists pursuant to 28 U.S.C. § 1331, nor

   28 U.S.C.§ 1605 in its Amended Motion, nor at the Hearing. See ECF No. [60]; ECF No. [267].

   This Court need not consider arguments that were not in the first instance, presented to the

   magistrate judge. Williams v. McNeil, 557 F.3d 1287, 1291 (11th Cir. 2009). Regarding the FSIA

   immunity, the Foreign Sovereign Immunities Act does not pertain to non-sovereign Respondents,

   and this Court has adopted that portion of the R&R. Accordingly, the Court adopts the portion of

   the R&R concluding that ancillary jurisdiction is lacking in these proceedings supplementary, and

   the Objections are overruled on this issue.

           C. The Appeal Is Not Clearly Erroneous or Contrary to Law

           Casa filed a Motion seeking an extension of the Notices of Lis Pendens on the Properties

   until a final disposition on the merits of this case. ECF No. [222]. Judge Otazo-Reyes issued an

   Order denying the Motion. ECF No. [241], which Casa appealed, ECF No. [257]. Respondents

   filed a Response, ECF No. [268]. Given the determinations in this Omnibus Order, the Appeal is

   set to be denied. Nevertheless, an analysis of Casa’s Appeal follows.

           Casa argues the Order is clearly erroneous and contrary to law. ECF No. [257] at 3. Casa

   raises three issues: (1) the Order incorrectly requires Casa to establish a link to the Properties rather

   than provide a good faith basis to support its allegations to extend the Notices of Lis Pendens; (2)

   the Order incorrectly concludes that extending the Notices of Lis Pendens would violate OFAC’s

   regulations; and (3) the Order should have applied the injunction standard required to discharge a

   Notice of Lis Pendens. Id. at 3, 8.

           In Response, Respondents argue it is “undisputed” that Casa must sufficiently allege a link

   between the Funds allegedly misappropriated from Venezuela and the Properties upon which it

   seeks to impose a constructive trust. ECF No. [268] at 5. Respondents contend a party seeking to


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   extend a Notice of Lis Pendens must show “a fair nexus” and “set forth a basis both for the

   underlying claim. . . and a good faith basis.” Id.; see Drummond v. Alsaloussi, No. 23-cv-21379,

   2023 WL 3970958 (S.D. Fla. June 13, 2023). Id. at *5. This requires proof that “the property at

   issue is directly connected to the proponent’s claim” which Casa failed to do. Id. Next,

   Respondents argue Casa not only lacks standing, but that the correct standard was applied in the

   Order. Respondent points out the injunction standard only applies to a motion to discharge a lis

   pendens pursuant to Fla. Stat. § 48.23(3), while Casa sought an extension under Fla.

   Stat. § 48.23(2), which has no injunction requirement. ECF No. [268] at 11-12. Finally,

   Respondents contend that extending the lis pendens “until a final disposition of the case” is an

   indefinite amount of time and therefore is a “judicial process” precluded by OFAC. ECF No. [268]

   at 15. Casa did not file a Reply.

          The Court agrees with Judge Otazo-Reyes’ findings. The magistrate judges’s ruling on a

   non-dispositive matter “must be affirmed unless ‘it has been shown to be clearly erroneous or

   contrary to law.’” Sun Cap. Partners, Inc. v. Twin City Fire Ins. Co., Inc., No. 12-CV-81397-

   KAM, 2015 WL 11921411, at *1 (S.D. Fla. July 6, 2015). This is an “extremely deferential”

   standard of review. Martinez v. Miami Children's Health Sys., Inc., No. 21-CV-22700, 2023 WL

   1954529, at *1 (S.D. Fla. Jan. 26, 2023).

          Under prevailing Florida, the proponent of a lis pendens must establish a good faith basis

   for its claim which “requires some proof, even if minimal, that supports the proponent’s allegations

   that the property at issue is directly connected to the proponent’s claim.” Alsaloussi, 2023 WL

   3790956, at *5 (citing Chiuloso v. Kennedy, 614 So. 2d 491 (Fla. 1993)). In Alsaloussi, as in these

   proceedings supplementary, the plaintiff failed to offer proof that monies the plaintiff provided to

   the defendants were used to purchase the specific properties at issue. Id. This Court held “absent




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   such proof, plaintiff must not be allowed to tie up the properties with a lis pendens.” Id. (cleaned

   up). Similarly, in Nu-Vision, LLC v. Corp. Convenience, Inc., 965 So. 2d 232 (Fla. 5th DCA 2007),

   the court stated that “it would ... be contrary to sound public policy to allow a lis pendens proponent

   to tie up real property belonging to another person when the proponent cannot even make a

   minimal showing that there is at least some basis for the underlying claim.” Id. at 232. As already

   determined, Casa’s allegations fail to demonstrate a link between the misappropriated Venezuelan

   funds and the Properties that are the subject of the lis pendens. 14 Accordingly, the Court finds Casa

   has failed to demonstrate Judge Otazo-Reyes’ Order is clearly erroneous or contrary to law on this

   issue.

            The Court also agrees with Judge Otazo-Reyes’ finding that an extension of the lis pendens

   would be in contravention of OFAC regulations. Casa failed to argue why the Order is clearly

   erroneous. The Order determined OFAC’s sanctions specific to Venezuela provide “unless

   licensed. . . any attachment, judgment, decree, lien. . . or other judicial process is null and void

   with respect to any property and interests in property blocked pursuant to § 591.201.”

   31 C.F.R. § 591.202(a), (e). Casa did not engage with these findings or the sanctions. Instead, Casa

   argued the Order was clearly erroneous because a notice of lis pendens is not a lien, nor can it

   operate as one. ECF No. [257] at 11. That might be sufficient if the sanctions were limited to liens;

   however the OFAC sanctions at issue are broad. Without an OFAC license, any “judicial process

   is null and void” with respect to the Properties or any interest therein. Moreover, Casa’s request to

   extend the lis pendens to two of the subject Properties which Casa alleges are not blocked by

   OFAC is without merit as there is no indication in the record that either property has been


            14
              Casa relies on the allegations in the OFAC findings, OFAC chart, and its expert Luis Report.
   ECF No. [257] at 8. The Court has determined neither the OFAC findings nor OFAC chart address the
   Properties, and the findings in the Luis Report failed to provide a necessary link between the
   misappropriated Funds and the Properties.


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   unblocked by OFAC. Consequently, Casa has failed to demonstrate that the Order was clearly

   erroneous or contrary to law on this issue.

          Finally, the Court finds Casa’s argument that the injunction standard to discharge a notice

   of lis pendens must apply is without merit. Casa moved for the extension of lis pendens pursuant

   to Fla. Stat. § 48.23(2). ECF No. [222] at 2, 4. In its Response, Casa argued Fla. Stat. § 48.23(3)

   applies to the discharge of notices of lis pendens not “founded on a duly recorded instrument or

   on a lien” such that “the court shall control and discharge the recorded notice of lis pendens as the

   court would grant and dissolve injunctions.” ECF No. [257] at 11-12. 15 Notwithstanding the other

   deficiencies already addressed in Casa’s appeal, this argument requires Casa to satisfy all elements

   of a preliminary injunction. Based on this Omnibus Order, Casa cannot demonstrate “a substantial

   likelihood of success on the merits” and fails to meet the first necessary element of a preliminary

   injunction. Frank v. Ocean 4660, LLC, et al., No. 11-62004-CIV, 2011 WL 5082137, at *4 (S.D.

   Fla. Oct. 26, 2011) (citations omitted). Accordingly, the Court finds Casa has failed to demonstrate

   that Judge Otazo-Reyes’ Order is clearly erroneous or contrary to law on this and all issues in its

   Appeal.


   IV.    CONCLUSION

          Accordingly, it is ORDERED AND ADJUDGED as follows:

          1. The R&R, ECF No. [262], is ADOPTED IN PART.

          2. Casa’s Objections, ECF No. [276], are OVERRULED.

          3. Gorrin’s Motion for Judgment on the Pleadings, ECF No. [231], is GRANTED IN

               PART.


          15
             In the Order, Judge Otazo-Reyes noted Casa’s argument that the injunction standard
   pursuant to Section 48.23(3) was absent from any written submission and only brought forth during
   the Hearing on this Motion. ECF No. [241] n.6.


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         4. Respondents’ Motion for Judgment on the Pleadings, ECF No. [232], is GRANTED

            IN PART.

         5. Casa’s Cross-Motion to Serve Gorrin, ECF No. [252, 253], is GRANTED IN PART.

         6. Casa’s Appeal, ECF No. [257], is DENIED.

         7. Order Re: D.E. 222, ECF No. [241], is AFFIRMED.

         8. The Clerk of Court is directed to CLOSE this case.

         9. To the extent not otherwise disposed of, any scheduled hearings are CANCELED, all

            pending motions are DENIED AS MOOT, and all deadlines are TERMINATED.

   DONE AND ORDERED in Chambers at Miami, Florida, on April 23, 2024.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE
   cc:   counsel of record




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